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AO 91 (Rev 8/01) — Criminal Complaint Limit al ©

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Southern District of Texas

United States District Court FILED

SOUTHERN DISTRICT OF TEXAS September 28, 2022
McALLEN DIVISION

Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT
Ricardo Barrera Jr. Case Number:
YOB: 2002 COB: United States M-22-1910-M
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.
On or about September 27, 2022 in Starr County, in the
Southern District of Texas

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Pedro Maradiaga-Lainez and Andres Molina-Escoto, both citizens and nationals of
of Honduras, whom had entered the United States in violation of law, did knowingly transport, or move or attempted to transport
said aliens in furtherance of such violation of law within the United States, that is, from a location near Roma, Texas to the point of
arrest near Roma, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
I further state that J am a U.S. Border Patrol Agent and that this complaint is based on the following facts:

On September 27, 2022, at approximately 7:49 pm Rio Grande City Border Patrol Station Tactical Operation Center (RGC TOC) advised agents near
Roma, Texas of suspected undocumented aliens traveling north from the Rio Grande River. Agents in the area responded and observed a Dodge
Charger pick-up two subjects. The agent continued to observe the Charger travel north a short distance, stop, two subjects leave the vehicle and
conceal themselves in some brush alongside the road prior to losing sight.

Minutes later another agent in the area located the Dodge Charger near a carwash approximately two blocks from where the two undocumented aliens
were encountered in the brush. The agent performed a vehicle stop and identified the driver as Ricardo Barrera Jr., a United States citizen. While
interviewing the driver, the agent observed a significant amount of mud inside the rear of the vehicle.

Continued on the attached sheet and made a part of this complaint: [x|ves []No
Complaint authorized by AUSA L. Fry /si Eric T. Pratt
Signature of Complainant
Subandtee’] by plane elecertidc mamas. great to eel amecned
nleghodies ly per Red. &. CrP. i ead prohaile caus fad one Eric T. Pratt Border Patrol Agent
Printed Name of Complainant
September 28, 2022 —_ at 3:02 p.m. at McAllen, Texas

Date City and Lf
J. Scott Hacker

_U. S. Magistrate Judge

Name and Title of Judicial Officer ee Officer

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-22-1910-M

RE: Ricardo Barrera Jr.

CONTINUATION:

PRINCIPAL STATEMENT:

Ricardo Barrera Jr. was advised of his Miranda Rights. He stated he understood his rights and
agreed to provide any statements without legal counsel.

Barrera Jr. stated he was just driving around in his friend’s car. Barrera Jr. indicated he did not
pick up illegal aliens.

MATERIAL WITNESSES STATEMENTS:

Pedro Arturo Maradiaga-Lainez and Andres Molina-Escoto, both citizens and nationals of
Honduras, were read their Miranda rights. Both understood and agreed to provide a sworn
statement.

Pedro Arturo Maradiaga-Lainez stated his family made his smuggling arrangements and paid
$7,000 of a total of $14,000. Maradiaga indicated he crossed the river by wading along with
another subject and a guide. Maradiaga stated once they arrived, the guide instructed them to
walk towards a tree next to a house and wait until a four-door truck picked them up. Maradiaga
indicated they waited about thirty (30) minutes. Maradiaga stated a Dodge stopped in front of
them and they boarded the Dodge. Maradiaga said the driver told them to duck down.
Maradiaga indicated the vehicle stopped and told them to get out of the vehicle. Maradiaga
described the vehicle as a grey four-door Dodge. Maradiaga said they identified all style of
vehicles as trucks.

Maradiaga identified Ricardo Barrera Jr., through an official CBP photo array, as the driver of
the vehicle.

Andres Molina-Escoto stated he crossed the river by wading along with another subject and a
guide. Once they arrived in the U.S., the guide instructed to run towards a location and to wait
for pick up. Molina indicated they waited about thirty (30) minutes before they were picked up.
Molina said a vehicle stopped near them. Molina said the subject with him ran towards the
vehicle, he followed and boarded the vehicle. Molina described the vehicle as a grey four-door
vehicle. Molina said moments later the driver stopped the vehicle and told them to get out of the
vehicle. Molina stated they got out of the vehicle, ran, and hid.

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